                UNITED STATES BANKRUPTCY COURT
          FOR THE EASTERN DISTRICT OF MICHIGAN (DETROIT)

In Re:

Dailey Law Firm PC                  Case No. 23-45970-mlo
                                    Chapter 11
       Debtor.                      Hon. Maria L. Oxholm
__________________________________________________________________/

    STATE COURT APPOINTED RECEIVER’S SUPPLEMENTAL
  OBJECTIONS TO DEBTOR’S FIRST DAY MOTIONS FOR ORDER
AUTHORIZING PAYMENT OF PREPETITION WAGES, SALARIES AND
  EMPLOYEE BENEFITS AND FOR USE OF CASH COLLATERAL

         John Polderman, State Court Appointed Receiver, (“Receiver”) by and

through undersigned counsel, hereby files this supplemental objection (the

“Objection”) to the motions (collectively the “Motion”) of the above-captioned

debtor and debtor in possession (the “Debtor”). In support of the Objection,

Receiver respectfully represents as follows:

         Brian Dailey and the Dailey Law Firm are subject to numerous ethical

complaints, a pending disciplinary action from the State Bar of Michigan, as well as

a pending show cause action for contempt for failure to properly administer client

funds. To avoid the consequences of its malfeasance, the Debtor initiated this

bankruptcy case. Brian Dailey and The Dailey Law Firm have shown that they

cannot be trusted to act in a fiduciary capacity with client funds.

         Since the interim hearing on the Motion, Debtor has disclosed that it is paying

Brian Dailey $200,000 per year in wages. These wages and the business operations
                                              1

 23-45970-mlo      Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02   Page 1 of 56
are funded through legal services provided to clients of the Debtor.

       But Debtor does not act ethically with respect to its clients. On thirteen

documented instances, Debtor and its member have withheld funds due to third

parties, and have taken settlement proceeds to which they are not due. These actions

are subject of a lawsuit in Wayne County, as well as complaint filed on behalf of

the Michigan Attorney Grievance Commission (“Complaint”) (See Exhibit A,

Complaint).

       Given these prior bad acts, there is a substantial likelihood that this Debtor is

funding its operations with money that has been stolen or misappropriated from

clients or third parties.

       Furthermore, the State Bar of Michigan has asked for the Debtor to provide

basic information regarding its allegations in the Complaint, and the Debtor has

failed and refused to provide information:




                                             2

 23-45970-mlo     Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02    Page 2 of 56
      This Court should not approve the Motion until the Debtor provides the

following: (1) full disclosure and copies of its fee agreements (2) an accounting of

the source of fees received; (3) a certification and verification that the fees collected

are in accordance with any fee agreements; (4) audit of its IOLTA account by an

independent third party; and (5) certification and confirmation of full cooperation

with the State Bar of Michigan.

      The Receiver therefore objects to the payment of wages, salaries and

                                             3

 23-45970-mlo     Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02    Page 3 of 56
employment benefits or use of cash collateral in accordance with any budget,

pending confirmation of cooperation with the State Bar of Michigan’s request for

information, as well as confirmation that the funds received by Debtor are not the

result of fraud, deceit or unethical behavior.

      Furthermore, aside from the ethical issues, Brian Dailey should not be on a

fixed salary. His compensation, to the extent he deserves any at all, should be tied

to revenue. Already the first month of revenue is half of what his projections show.

Any income he is paid should be tied to the performance of the Debtor, and to the

extent it fails to meet projections, then his salary should be adjusted accordingly.

Rather than attempting to bleed the Debtor during bankruptcy. Brian Dailey should

be incentivized to ensure proper, ethical performance of the Debtor.

      The Receiver further reserves all of his rights to object to other and further

relief sought by any party in this chapter 11 case, and assert any other rights, claims

and remedies available to him under the Bankruptcy Code or other applicable law.

      WHEREFORE, the Receiver respectfully requests that the Court enter an

order denying the Motion and granting such other and further relief as this Court

deems just and proper; or in the alternative, granting the Debtor’s Motion

conditioned upon disclosure and verification of: (1) full disclosure and copies of its

fee agreements (2) an accounting of the source of fees received; (3) a certification

and verification that the fees collected are in accordance with any fee agreements;


                                            4

 23-45970-mlo    Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02    Page 4 of 56
(4) audit of its IOLTA account by an independent third party; and (5) certification

and confirmation of full cooperation with the State Bar of Michigan.

                                      SIMON PLC ATTORNEYS

                                      & COUNSELORS

                                      /s/ John W. Polderman
                                      JOHN W. POLDERMAN (P65720)
                                      State Court Appointed Receiver
                                      363 W. Big Beaver Road, Suite 410
                                      Troy, MI 48084
                                      (248) 720-0290
Dated: July 31, 2023                  jpolderman@simonattys.com




                                           5

 23-45970-mlo    Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02   Page 5 of 56
                        EXHIBIT “A”




23-45970-mlo   Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02   Page 6 of 56
                                                                         FILED
                                                               ATTORNEY DISCIPLINE BOARD
                                                                     October 7,2022

                                    State of Michigan

                               Attorney Discipline Board

Grievance Administrator,
Michigan Attorney Grievance Comrnission,

         Petitioner,                                       Case No:22-77-GA.

v

Brian T. Dailey, P39945,
         Respondent.



                                    Formal Complaint

                               (Parties and Jurisdiction)


           l.     Petitioner, Grievance Administrator, is authorized by MCR
    9.109(8)(6) to prosecute this Formal Complaint by the Attorney Grievance

    Commission, which is the prosecution arm of the Supreme Court for the discharge

    of its constitutional responsibility to supervise and discipline Michigan attorneys.

           2.    As a licensed Michigan attorney, Respondent Brian T. Dailey, P39945,

    is subject to the jurisdiction of the Supreme Court and the Attorney Discipline
    Board as set forth in MCR 9.104.

           3.    Michigan attorneys have a duty to conduct themselves personally and

    professionally at all times in conformity with the standards imposed on members of

    the bar as a condition of the privilege to practice law.




23-45970-mlo       Doc 67    Filed 07/31/23    Entered 07/31/23 14:34:02    Page 7 of 56
         4.      Respondent is a Michigan attorney who was licensed in 1987 and who

  resides or has his place of business in the County of Wayne.



                             COUNT ONE - DAYA CASE

                                (Factual Allegations)

         5.      On or about early November of 2010, Respondent was retained to

  replace Plaintiffs counsel in Christopher Daya u Onaissa Zahra Bacha and, Fatima

  Bacha, in Wayne County Circuit Court Case No. 09-029003-NI (Doyo).

        6.       On or about November 1, 2010, an Order Granting Plaintiffs Counsel

  Motion to Withdraw was entered by Hon. Robert L. Ziolkowski.

        7.       On or about November 1,2010, Respondent was ordered to reimburse

  Gursten, Christensen and Raitt, PC (Gursten) the full amount of costs totaling

  $5,495.15 that was paid to Respondent.

        8.       Respondent initially agreed to reimburse Gursten per the order, but

  then refused to do so.

        9.       After Gursten made repeated requests for payment from Respondent,

  a Motion to Show Cause was filed in Wayne County Circuit Court in2012.

         10. On March 16,2012, a Hearing on Motion to Show Cause and for Order
  of Garnishment was held before Judge Ziolkowski and Respondent was again
  ordered to repay Gursten $5,495.15 within 10 days.

        I   l.   On March 20, 2012, a seven-day order was submitted to the court and

  on March 27, 2012, the Order Granting Motion to Show Cause and for Order of



                                            2


23-45970-mlo      Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02   Page 8 of 56
  Garnishment was entered ordering Respondent to repay Gursten $5,495.15 as

  ordered on March 16,2012.

        12. Over the next two years, Respondent refused to make payment to
  Gursten as ordered on March 16, 2012 and as reflected in the written order dated

  March 27,2012.

        13. On March 5, 2014, a Motion to Quash the November 1, 2010, Order
  Granting Plaintiffs Motion to Withdraw and reimburse Gursten, PC and the March

  27, 20L2, Order granting Motion to Show Cause for Order of Garnishment to

  reimburse Gurston, PC was filed and on March 6,2014, a hearing on the Motion to

  Quash was held before Judge Ziolkowski in Daya to determine if the court would

  set aside the order of March 27, 2012, for the purpose of resolving the outstanding

  attorney fees and costs due to Gursten from Respondent.

        14. Judge Ziolkowski stated on the record that the Order Granting Motion
  to Show Cause and For Order of Garnishment entered on March 27,20L2 was valid

  and accurately reflected his rulings, and that they had not been followed by

  Respondent.

        15. On or about March 20, 2014, an order was entered by stipulation
  between Respondent and Paul Broschay, attorney for Mr. Daya, and Joshua

  Terebelo, attorney for Michigan Auto Law, that Gursten be paid $7,000 for the costs

  owed from the Order dated March 27, 2I02,plus ad.ditional attorney fees pursuant

  to MCR 2.114 from the $10,000 in funds to be received by Respondent.

        16. Respondent did not pay the funds to Gursten as ordered.

                                          3


23-45970-mlo    Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02      Page 9 of 56
                                (Grounds for Discipline)

        t7.     By reason of the conduct described above in Count One of this Formal

  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)   Failed to promptly pay or deliver any funds that a

                    third person is entitled to receive, in violation of
                    MRPC 1.15(b)(3);

               b)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.4(c);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fi.tness

                    as a lawyer, in violation of MRPC 8.a@);

               d)   engaged in conduct that is prejudicial to the proper

                    administration of justice, in violation of MRPC

                    e.1oa(1);

               e)   engaged in conduct that exposes the legal profession

                    or the court to obloquy, contempt, censure, or
                    reproach, in violation of MCR 9.104(2); and,




                                           4


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02        Page 10 of 56
               f)       engaged in conduct that is contrary to justice, ethics,

                        honesty, or good morals, in violation of MCR

                        e.104(3).


                              COUNT TWO - HERMIZ CASE
                                 (Factual Allegations)

         18. At all times relevant to this complaint, Respondent represented the
  Plaintiff in Sultana Hermiz u Rahul Mahajan and, Rakesh Mahajoz, Macomb
  County Circuit Court, Case No.09-2170-NI (Hermiz).

         19. On or about September 9,20L1, an arbitration award was entered in
  Hermiz in the amount of $60,000.00.

         20. On or about September 9, 2011, Progressive Michigan Insurance
  issued check number 471535850 in the amount of $60,000.00 on a PNC Bank

  account for full and fi.nal settlement of claims.

         21. The check was jointly payable to Sultana Hermiz, The Dailey Law
  Firm, PC and Gursten, Koltonow, Gursten, Christensen & Raitt, PC only.

        22.         On or about September 13, 2011, Sultana Hermiz signed an Invoice for

  Attorney Fees & Costs agreeing to client expenses for Gursten in the amount of

  $1,338.98.

        23. At all times relevant to this formal complaint and prior to 2012,
  Respondent maintained an IOLTA with Talmer Bank (flkla First Place Bank), titled

  DAILEY LAW FIRM PC IOLTA ACCOUNT, account number xxxxxx5575. (IOLTA

  Account #5575).



                                               5


23-45970-mlo        Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02          Page 11 of 56
        24.     On or about September 13, 2011, Respondent deposited Settlement

  Check No. 471535850 in the amount of $60,000.00 into IOLTA Account #5575.

        25. On September 13, 201I, Respondent drafted the following checks from
  his IOLTA Account #5575:

               a)   Check No. 2108 payable to Dailey Law Firm PC in

                    the amount of $4,368.98 for expenses;

               b)   Check No. 2109 payable to Dailey Law Firm PC in

                    the amount of $18,843.00 for his fee; and,

               c)   Check No. 2110 payable to Sultana Hermiz for

                    $37,087.35.

        26.     Respondent's drafting of check numbers 2108, 2109 and 2110 from

  IOLTA Account #5575 totaled $60,299.33.

        27. Thereafber, Respondent did not pay Gursten for attorney fees ordered
  and Respondent did not hold Gursten's fees in his IOLTA Account #5575.

        28. At all times relevant to this formal complaint and prior to 2012,
  Respondent maintained a Business Account with Talmer Bank (flkla First Place

  Bank, titled DAILEY LAW FIRM, PC, Account Number xxxxxx5525 (Business

  Account #5525).

        29. On or about April 8, 2015, and only afber settlement of Daya, did
  Respondent pay Gursten $1,338.98 with funds from his Business Account #5525

  with Check No. 5525.




                                          6


23-45970-mlo    Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02   Page 12 of 56
                             (Grounds for Discipline)

        30.     By reason of the conduct described above in Count Two of this Formal

  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)   failed to promptly pay or deliver any funds that a

                    third person is entitled to receive in violation of
                    MRPPC 1.15@)(3)

               b)   failed to hold disputed property separate from the

                    lawyer's property until the dispute is resolved in

                    violation of MRPC 1.15(c);

               c)   failed to hold property of clients or third persons in

                    connection with a representation separate from the

                    lawyer's own property, in violation of MRPC 1.15(d).

               d)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.a@);

               e)   engaged in conduct prejudicial to the administration

                    of justice, in violation of MRPC 8.a(c) and MCR

                    9.104(1); and,




                                           7


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02       Page 13 of 56
               0       engaged conduct that exposes the legal profession or

                       the court to obloquy, contempt, censure, or reproach,

                       in violation of MCR 9.104(2).



                            COUNT THREE - STEVEN LEHTO

                                  (Factual Allegations)

        31.        Attorney Steven Lehto, (I\tlr. Lehto) and Respondent entered into an

  agreement in or about 2010 whereby Mr. Lehto and Respondent would serve as co-

  counsel on lemon law cases in Michigan.

        32.        Respondent agreed that Mr. Lehto would retain clients, work on files,

  and settle cases remotely while living in Florida and Respondent would attend court

  proceedings in Michigan when necessary.

        33. Respondent agreed that his firm, Dailey Law Firm, PC, would split the
  net value of any settlements, less costs which included 10 percent of the total fee to

  his associate, attorney Justin Grove, and the remaining balance would be split 50/50

  between Mr. Lehto and Respondent.

        34. A retainer fee agreement was prepared to be used in conjunction with
  Michigan "Lemon Law" cases Mr. Lehto would have with Respondent.

        35.        During the years of 2O12-2013, Respondent received settlement funds

  for the following cases shared with Mr. Lehto:

               a)      William Williamson -Williarn Williamson u Ford

                       Motor Co, et al, Wayne County Circuit Court Case


                                              8


23-45970-mlo       Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02        Page 14 of 56
                       No. 12-001376-CP, filed February I, 2012 and
                       resolved January 22, 2013;

               b)      Renee Vives -Renee Viues u Ford Motor Co. et aI,

                       Wayne County Circuit Court Case No. 12-005256-

                       CP, filed April 18, 2012 and settled March 7, 2013;

               c)      Tamera Malkowski - Tamera Malhowshi u Mazda

                       Motor of America et al,Wayne County Circuit Court

                       Case No. I2-0O0274-CP, filed January 6,2012 and

                       settled March 6,20L3;

               d)      Rochelle Price - Rochelle Price u Chrysler Group,

                       Oakland County Circuit Court Case No. 12-016342-

                       CP, filed January 22, 2OI3 and settled September

                       12,2013;

               e)      Catherine Kuban- Catherine Kuban u Ford Motor

                       Co. et aI, Wayne County Circuit Court Case No. 12-

                       001917-CP, filed September LI, 2012 and settled

                       April 29,2013;

               0       Frank Sorrentino - Franh Sorcentino u General
                       Motors et al,St. Clair County Circuit Court Case No.

                       12-001917-CP, filed August 6, 20L2 and settled

                       March 27,2013; and,




                                              9


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02       Page 15 of 56
               g)      Milton Spokojny - Milton Spohojny u Ford Motor Co.

                       et aI, Wayne County Circuit Court Case # 12-
                       007343-CP, filed May 31, 2012 and settled March 5,

                       2013.

        36. Respondent deposited settlement funds from Willianl. u. Ford Motor
  Co. directly into his Dailey Law Firm, PC, Business Account#5525 on January 22,

  2013, in the amount of $6,000.00.

        37. On January 24,2013, Respondent wire transferred $6,000.00 from his
  Business Account #5525 to his IOLTA Account #5575 to correct the earlier deposit.

        38. On or about March I, 2013, Mr. Lehto began attempting to contact
  Respondent by telephone for payment on the seven aforementioned cases and when

  unable to reach Respondent by telephone, Mr. Lehto also sent Respondent text

  messages and email messages seeking payment.

        39. In March of 2013, Respondent told Mr. Lehto that payment to him was
  forthcoming but that Respondent was having trouble with funds and needed

  additional time to pay Mr. Lehto the money Respondent owed him.

        40. Respondent has failed to pay Mr. Lehto the money Respondent owes
  Mr. Lehto to date.

                               (Grounds for Discipline)

        41. By reason of the conduct described above in Count Three of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:


                                             10


23-45970-mlo    Doc 67      Filed 07/31/23   Entered 07/31/23 14:34:02      Page 16 of 56
               a)      failed to promptly pay or deliver any funds that a

                       third person is entitled to receive, and failed to
                       promptly render a full accounting regarding the

                       funds, in violation of MRPC 1.15(b)(3);

               b)      engaged in conduct involving dishonesty, fraud,

                       deceit or misrepresentation or violation of the

                       criminal law, where such conduct reflects adversely

                       on the lawyer's honesty, trustworthiness, or fitness

                       as a lawyer, in violation of MRPC 8.a@);

               c)      conduct that is prejudicial to the proper
                       administration ofjustice, in violation of MRPC 8.a(c)

                       and 9.104(1);

               d)      engaged in conduct that exposed the legal profession

                       or the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               e)      engaged in conduct that is contrary to justice, ethics,

                       honesty, or good morals, in violation of MCR

                       e.104(3).



                          COUNT FOUR - SUZANNE M. WICKETT
                                       (Factual Allegations)

        42. On or about July 19, 20L7, Suzanne M. Wickett (Ms. Wickett) was
  hired by Respondent to work as a bookkeeper in Respondent's law firm.
                                              11



23-45970-mlo        Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02         Page 17 of 56
        43. Respondent was to pay Ms. Wickett by check for her services rendered
  to Respondent and Dailey Law Firm, PC.

        44. On or about August 22, 20L7, Ms. Wickett deposited check #6115 in
  the amount of $1,1480.00 from Respondent's Business Account #5525 for wages.

        45.    Respondent's check was retuned for nonsufficient funds.

        46. Respondent did not pay Ms. Wickett her wages for the weeks of
  September I,2017 and September 8,2017.

        47.    On September 15, 2017, Respondent promised Ms. Wickett that he

  would pay her back wages.

        48. Ms. Wickett's final day in Respondent's employment was September
  15,2017.

        49. On September 18, 2017, Ms. Wickett was instructed not to come to
  work at Dailey Law Firm, PC, and Ms. Wickett requested that Respondent pay her

  back wages as promised to her by Respondent on September 15, 2017.

        50. Thereafter, Ms. Wickett's requests for payment for her wages from
  Respondent were ignored by Respondent.

        51.    On or about November 2I, 2017, Ms. Wickett filed claim number

  195406 with the Michigan Department of Licensing and Regulatory Affairs (I"ARA)

  associated with Respondent's failure to pay her wages.

        52. A Regulation Agent with LARA mailed Respondent a letter on
  December 18, 2017, advising that the investigation disclosed $2,210.00 was due to




                                          T2


23-45970-mlo   Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02    Page 18 of 56
  Ms. Wickett and that Respondent was to pay this amount no later than December

  2I,20L7.

         53. Respondent did not pay the amount owed to Ms. Wickett by December
  21,2017.

         54. On January 31, 2018, I,ARA issued a Determination Order finding
  Respondent violated MCL 408.472(I), 408.475(2), 408.479(1)-(3) of the Payment of

  Wages and Fringe Benefi.ts Act.

         55. The Determination Ord.er required. Respondent to pay Ms. Wickett
  $2,210 in gross wages, I0% a year interest of $.60 per day beginning November 12,

  2017, until the determined amount was paid. Respondent was further assessed a

  civil penalty of $1,000 for his violation of the Act.

         56. Respondent appealed the LARA Determination Order.
         57. A hearing was held on May 4, 2018, before Administrative Law Judge
  David Cohen.

         58. Ms. Wickett, I"ARA representatives, and Respondent were present for
  the hearing.

         59. On June 4,2018, Judge Cohen issued a decision affirming the LARA
  Determination Order and required Respondent to pay Ms. Wickett and submit

  payment to the State of Michigan.

        60.      On September 18, 2OL8,I"ARA notified Ms. Wickett that payment had

  not been made in accordance with the Determination Order and that the matter




                                            13


23-45970-mlo     Doc 67    Filed 07/31/23    Entered 07/31/23 14:34:02   Page 19 of 56
  was referred to the Michigan Attorney General's Office (Attorney General) to collect

  the amount due to Ms. Wickett.

        61. The office of Attorney General engaged in collection efforts from
  Respondent to ensure that he paid the amount due to Ms. Wickett.

         62. On or about September 3, 2019, approximately one year after the
  amount due was sent to collections with the Attorney General and two years after

  Ms. Wickett's employment ended with Respondent, payment was finally received

  by Ms. Wickett from the State of Michigan in the amount of $2,462.00.


                                 (Grounds for Discipline)

        63.     By reason of the conduct set forth in Count Four of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.4(c);

               b)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fi.tness

                    as a lawyer, in violation of MRPC 8.a@);

               c)   engaged in conduct prejudicial to the administration

                    of justice, in violation of MRPC 8.a(c) and MCR

                    e.1oa(1);

                                           t4

23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02        Page 20 of 56
               d)      engaged in conduct that exposed the legal profession

                       or the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               e)      engaged in conduct that is contrary to justice, ethics,

                       honesty or good morals, in violation of MCR 9.104(3).




                                COUNT FIVE _ DALEN HANNA

                                      (Factual Allegations)

        64. In or about 2017, Respondent employed Rodney Lloyd (I\{r. Lloyd) as
  an assistant and made payments to Mr. Lloyd via business check.

         65. Mr. Lloyd would tender the checks from Respondent to Greenfield
  Super Market (GSM) in use of check cashing services offered by GSM.

         66. From November 17 to November 22, 2017, three checks that
  Respondent issued to Mr. Lloyd, totaling the sum of $2,600.00, were returned for

  Not Sufficient Funds that were cashed at GSM, each resulting in a $25 fee, for a

  total of $2,675.00

        67. GSM contacted Respondent and was promised by Respondent that the
  checks would be replaced after November 17, 2017.

        68. On or about December 8,2017, Respondent issued Check No. 11341
  from his Dailey Law Firm, PC Business Account #5525, payable to GSM in the

  amount of $2,675.00.




                                              15


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02          Page 21 of 56
         69. On or about December 12,2017, Check No. 11341 was returned for Not
  Sufficient Funds.

         70. Respondent's conduct for issuing a non-sufficient fund check in the
  amount of $2,675.00 is a violation of MCL 750.131.

         71. GSM made further attempts to be paidby Respondent after Check No.
  11341 was deemed Not Sufficient Funds by the bank, but Respondent did not

  respond to these further attempts of GSM for payment, from December of 2OI7 to

  August of 2018.

         72.    GSM then retained Dalen Patrick Hanna, P81533 (Attorney Hanna)

  to collect the funds that were owed by Respondent.

         73. Attorney Hanna made several attempts to collect the funds
  Respondent owed GSM without litigation, from August to December of 2018.

         74.    On August 6, 2018, Attorney Hanna sent Respondent a Notice of

  Dishonored Check & Demand for Immediate Payment.

         75. Respondent did not pay the amount owed to GSM.
         76.    On August 27, 2018, Attorney Hanna advised Respondent that he

  would be filing a lawsuit if Respondent did not pay the money he owed to GSM.

         77. Respondent did not respond to Attorney Hanna's attempt to settle the
  matter prior to filing a lawsuit.

         78. On December 14, 2018, Respondent filed a complaint for declaratory
  judgment in the matter captioned Dailey Law Firm PC u Greenfield Super Market,

  Inc.,3$th District Court, Case No. 18-17903l-GC.


                                            16


23-45970-mlo    Doc 67     Filed 07/31/23   Entered 07/31/23 14:34:02   Page 22 of 56
         79. On December 14, 2018, Attorney Hanna, on behalf of GSM, filed a
  Complaint against Respondent, in Greenfield, Supermarket, Inc., u Brian Thomas

  Dailey and Dailey Law Firm, PC,48th District Court, Case No. I8-34476-GCZbefore

  the Hon. Diane D'Agostini.

        80. Respondent filed a motion to dismiss the civil case in the 48th District
  Court, which was denied on February 28,2019, before Judge D'Agostini.

        81.    On April 4, 2019, Judge D'Agostini granted Plaintiffs Motion for

  Sanctions Against Respondent and Defendant Dailey Law Firm, PC.

         82. Judge D'Agostini ordered sanctions be paid by Respondent pursuant
  to MCR 2.IL4(D), (E), and MCL 600.2591 in the amount of $1,500 within seven days

  ofthe entry ofthe order.

        83. In making her ruling, Judge D'Agostini stated that she found
  Respondent's defense "to absolutely be frivolous."

        84. On April 24, 2019, Dailey u. Greenfield Superrnarket was dismissed
  with prejudice with no costs or fees to either party in the 36th District Court after

  Attorney Hanna filed a Motion for Summary Disposition on behalf of GSM.

        85.    On May 2, 2019, a judgment was entered against Respondent and

  Dailey Law Firm PC, in the 48th District Court for $2,805, not including statutory

  interest, which was then served on the parties or their attorneys by first-class mail

  addressed to their last known addresses as defined by MCR 2.107(C)(3).

        86. To date, Respondent has not paid the sanction amount and the
  judgment amount entered to date in the 48th District Court case.


                                          T7


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02     Page 23 of 56
                                   (Grounds for Discipline)

        87. By reason of the conduct described above in Count Five of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)     failed to promptly pay or deliver any funds that a

                      third person is entitled to receive, in violation of
                      MRPC 1.1500)(3);

               b)     asserted a frivolous to a proceeding, in violation of

                      MRPC 3.1;

               c)     knowingly disobeyed an obligation under the rules

                      of a tribunal, in violation of MRPC 3.a(c);

               d)     violated or attempted to violate the Rules of

                      Professional Conduct, in violation of MRPC 8.4(a);

               e)     engaged in conduct involving dishonesty, fraud,

                      deceit or misrepresentation or violation of the

                      criminal law, where such conduct reflects adversely

                      on the lawyer's honesty, trustworthiness, or fitness

                      as a lawyer, in violation of MRPC 8.4ft);

               0      engaged in conduct that is prejudicial to the proper

                      administration ofjustice, in violation of MRPC 8.4(c)

                      and MCR 9.10a(1);




                                             18


23-45970-mlo       Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02        Page 24 of 56
               s)       engaged in conduct that exposes the legal profession

                        to obloquy, contempt, censure, or reproach, in
                        violation of MCR 9.L0a(D;

               h)       engaged in conduct that is contrary to justice, ethics,

                        honesty, or good morals, in violation of MCR

                        9.104(3); and,

               r)       engaged in conduct that violated a criminal law of a

                        state or of the United States in violation of MCR

                        e.104(5).


                                    COUNT SD( _ARON ORTH
                                         (Factual Allesations)

        88.         On or about August 10, 2011, Maria Orth (Mrs. Orth) was involved in

  an automobile accident and suffered injuries as a result of this incident.

        89. In 2013, Mrs. Orth retained Respondent for representation.
        90. On April 7,2014, Respondent filed a complaint in the matter captioned
  Maria Orth u Bristol West Preferred Insurance Company, Wayne County Circuit

  Court Case No. 14-004466-NI.

        91. The case settled and a check in the amount of $175,000.00 was issued
  on March 27, z}Il,jointly payable to Dailey Law Firm, PC and Maria Orth.

        92. A deposit slip shows the settlement check was deposited into
  Respondent's IOLTA Account #5575 on April 7, 2015.

        93. Mrs. Orth passed away on December 22,2015.

                                               19


23-45970-mlo        Doc 67   Filed 07/31/23     Entered 07/31/23 14:34:02         Page 25 of 56
           94. At the time of Mrs. Orth's death, Respondent had not disbursed all of
  the settlement funds.

           95. Mrs. Orth's family contacted Respondent for disbursement of the
  settlement funds to pay for her funeral expenses.

           96. Bank records from Respondent's IOLTAAccount #5575 reflect that the
  following wire transfers were made to Mrs. Orth and/or Michael Orth (her spouse):

       .    O710712015: $3,000

       o O812112015: $3,000
      .     L01I612015: $3,000

      .     1210412015 $3,000

      o 0110612016: $5,000
      .     0912L12016: $5,000

      .     Olll0l2017: $3,025

           97. There was a Medicaid lien on the settlement funds in the amount of
  $13,889.98.

           98. Additionally, the amount of $8,495.00 was owed to Plaintiff
  Investment Funding.

           99. Expenses in the case totaled $1,531.19.
           100. Payment from Respondent's IOLTAAccount #5575 show that Plaintiff
  Investment Funding was paid in full on April of 2015.




                                            20


23-45970-mlo     Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02   Page 26 of 56
         101. Attorney fees and expenses in the total amount of $29,622.68 were
  paid to attorney Scott Decius, an associate of Respondent's firm. The total attorney

  fee from the settlement was $57,827.94.

         102. Because Respondent did not disburse Mrs. Orth's settlement funds
  timely prior to her death, the settlement funds became a part of her probate estate.

         103. On or about January 4,2016, Mr. Orth retained Respondent to file a
  probate court case for the estate of Mrs. Orth.

        104. Respondent's minimum fee was listed for $7,500, but his proposed
  retainer agreement is unsigned, and Respondent did not open a probate estate for

  Mrs. Orth.

        105. Respondent's fee agreement violated MCR 5.313 because the retainer
  agreement is unsigned.

        106. On January 5, 2016, Respondent wire transferred $7,500 from his
  IOLTA Account #5575 to his Business Account #5525, before an estate was opened.

        107. On January 6, 2016, Respondent disbursed additional settlement
  funds to Mr. Orth in the sum of $5,000. On September 2I, 2016 Respondent

  disbursed additional settlement funds to Mr. Orth in the sum of $5,000 and on

  January lO, 20L7, Respondent disbursed additional settlement funds to Mr. Orth

  in the sum of $3,025.00

        108. In or about February of 2017, the family of Maria Orth retained
  Anthony McClerklin,P74296, (Attorney McClerklin) to open and probate the Estate

  of Maria Orth.



                                             2I

23-45970-mlo    Doc 67      Filed 07/31/23   Entered 07/31/23 14:34:02   Page 27 of 56
         109. On February 14, 2017, Attorney McClerklin commenced a probate
  action titled Estate of Maria Orth, Eaton County Probate Court, Case No. 17-52997-

  DE.

         110. OnAugust 4, 2017,Mr. Orth passed away.
         l1l.   On January 26,2018, Maria Orth's son, Aron Orth, was appointed as

  the personal representative of her estate.

         tt2       Septembet 17,2017, Respondent's associate, Kyle Dupuy, filed a

  statement and proof of claim asserting an attorney fee in the amount of $ 10,795.00

  for professional services rendered in the probate matter and for a Medicaid lien in

  the amount of $13,889.98. Respondent's fee was clearly excessive.

         113. The statement filed by Respondent's firm includes an account
  statement that falsely stated that $7,500 of Respondent's fee was retained in his

  IOLTA Account #5575.

         ll4.   Respondent's IOLTA Account #5575 records show a wire transfer of

  the amount of $7,500.00 from Respondent's IOLTA to Respondent's Business
  Account #5525 on January 5,2016.

        115. On April 27,20L8, a Notice of Disallowance of Claim regarding
  Respondent's firm's request for the attorney fee was filed.

        116. On June 26,2018, Respondent fiIed a civil complaint against the
  Estate of Maria Orth, in Dailey Law Firm PC u Michael Orth Indiuidually as

  Personal Representatiue of the Estate of Maria Elidia Orth and Aaron Orth as




                                           22


23-45970-mlo    Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02    Page 28 of 56
  Personal Representatiue of the Estate of Maire Elidia Orth, Wayne County Circuit

  Court, Case No. 18-007194-CK.

            ll7. In Respondent's first amended complaint filed on October 2, 2018,
  Respondent alleged breach of contract, unjust enrichment, and detrimental

  reliance, and sought declaratory and equitable relief.

            118. Respondent's amended civil complaint specifically alleged that
  Respondent was owed costs and fees in the amount of $10,795.

            119. Respondent further alleged in his civil complaint that he was
  attempting to disburse funds to the proper payees, including Medicaid and

  Medicare, but that the civil defendants had not given authority to disburse the

  funds.

            120. Respondent alleged that the liens to Medicaid and Medicare "are
  believed to be in an amount in excess of $25,000."

            l2l.   On or about July 17, 2019, the parties to the civil complaintbrought

  by Respondent negotiated a settlement and placed the settlement on the court's

  record.

            122. Under the terms of the settlement agreement Respondent was to pay
  the Medicare lien, Ieaving a settlement fund balance of $57,755.89.

            123. Respondent was to retain $17,000 as full and final settlement of
  Respondent's claim.

            124. A payment of $40,755.89 was owed to the estate within 24 hours of
  signature by the civil defendant.


                                             23


23-45970-mlo       Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02    Page 29 of 56
        125. On August 7, 2019, Respondent requested that Aron Orth sign the
  settlement agreement and release.

        126. On August L2,2019, a settlement agreement and release of claims was
  executed by Aron Orth, individually and as personal representative of the estate.

        127. Thereafter, Respondent did not pay the estate or the Medicare lien.
        128. On or about August 30, 2019, a motion to enforce settlement and
  compel payment of coasts and attorney fees was filed by the civil defendants and

  served on Respondent.

        129. On September 6, 20L9, Respondent issued checks payable to the estate
  and the Michigan Department of Community Health.


                                   (Grounds for Discipline)

        130. By reason of the conduct set forth in Court Six of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104:

               a)      Neglected a legal matter, in violation of MRPC

                       1.1(c);

               b)      failed to act with reasonable diligence and
                       promptness in representing a client, in violation of

                       MRPC 1.3;

               c)      failed to promptly pay or deliver any funds that a

                       third person is entitled to receive, in violation of
                       MRPC 1.15@)(3);

                                              24


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02     Page 30 of 56
               d)      knowingly disobeyed an obligation under the rules

                       of a tribunal, in violation of MRPC 3.4(c);

               e)      Charging or collecting, or attempting to charge or

                       collect, clearly illegal or excessive fees in violation of

                       MRPC 1.5(a) and MCR 5.313 (B).

               D       engaged in conduct involving dishonesty, fraud,

                       deceit or misrepresentation or violation of the

                       criminal law, where such conduct reflects adversely

                       on the lawyer's honesty, trustworthiness, or fitness

                       as a lawyer, in violation of MRPC 8.a@);

               s)      engaged in conduct that is prejudicial to the proper

                       administration of justice, in violation of MRPC

                       e.10a(1);

               h)      engaged in conduct that exposed the legal profession

                       of the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               r)      engaged in conduct that is contrary to justice, ethics,

                       honesty or good morals, in violation of MCR 9.104(3).

                             COUNT SEVEN - ARTHUR OROFINO

                                      (Factual Allegations)

        131. On or about November 29, 2016, Arthur Orofino (l\tlr. Orofino) was
  involved in an automobile accident.


                                              25


23-45970-mlo        Doc 67   Filed 07/31/23     Entered 07/31/23 14:34:02        Page 31 of 56
         132. On or about May 3, 20L7, Mr. Orofino retained Respondent by
  contingent fee agreement for all claims arising from the automobile accident

  including first- and third-party claims.

         133. On July ll, 2017, Respondent filed the matter captioned Arthur
  Andrew Orofino u Trauelers Indemnity Company, Wayne County Circuit Court Case

  No. 17- 10 1508-NF (Trauelers).

         134. On March 29, 2018, Respondent filed a case against the driver of the
  other automobile in a matter captioned Arthur Orofino u Bassam Naourn, Oakland

  County Circuit Court Case No. 20I8-164734-NI Q{aourn).

         135. Trauelers settled in June of 2018, for $80,000.
         136. The $80,000 settlement check for Travelers was deposited into
  Respondent's IOLTA Account #5575 on July 12,2018.

         137. On June 11, 2019, approximately one year after receiving the
  settlement funds, Respondent drafted a distribution statement for Mr. Orofino to

  execute.

        138. The no fault claims totaled just over $160,000. Respondent calculated
  his one-third fee on the amount of the no fault claims ($160,000), rather than on the

  settlement amount obtained ($80,000).

        139. Also, on or about June 11, 2019, Respondent issued a check in the
  amount of $27,799.20 payable from his IOLTA Account #5575 to Mr. Orofino, from

  the Trauelers settlement funds.




                                             26


23-45970-mlo    Doc 67    Filed 07/31/23     Entered 07/31/23 14:34:02   Page 32 of 56
         140. On June 12, 2019, Respondent deposited a settlement check for
  $110,000 representing the settlement funds fot Naoum.

         l4l. The $110,000 settlement check for Naoum was deposited in
  Respondent's IOLTA Account #5575 on June 12,2019.

         142. On July 3, 2019, Respondent's distribution statement for the $ I 10,000
  settlement in Naoum showed the net due to Mr. Orofino was $71,962.81 after

  deduction of costs and Respondent's one-third fee.

         143. On July 3, 2019, Respondent issued check number 16154 from his
  Business Account #5525 to Mr. Orofino in the amount of $71,962.81.

         144. Respondent's check number L6L54 to Mr. Orofino was returned for
  nonsufficient funds on July 5,2019.

         145. Respondent issued Mr. Orofino a second check number 15360 from his
  IOLTA Account #5575.

         146. Respondent dated this second check to Mr. Orofino as July 3, 2019.
         147. The check dated July 3, 2019 was then negotiated on July 9, 2019.
        148. Respondent issued the following additional checks from his IOLTA
  Account #5575 on behalf of Mr. Orofino: (1) check payable to Executive Case

  Management LLC for $3,829.37 on August 15, 2019; and (2) check payable to

  Equian LLC for $2,670.64 on October 9, 2019.

        149. Respondent did not promptly pay all the providers with outstanding
  balances on behalf of Mr. Orofino.




                                          27


23-45970-mlo   Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02     Page 33 of 56
        150. As a result of Respondent not promptly paying all the providers on
  behalf of Mr. Orofino, creditors continue to pursue payment.

        151. Respondent answered that he paid half of the outstanding bills for Mr.
  Orofino and has not provided an update on the remainder due.


                             (Grounds for Discipline)

        152. By reason of the conduct set forth in Count Seven of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)   failed to act with reasonable diligence and
                    promptness in representing a client, in violation of

                    MRPC 1.3;

               b)   Respondent charged or attempted to charge a clearly

                    excessive fee in violation of MRPC 1.5(a);

               c)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive, in violation of MRPC

                    1.15O)(3);

               d)   engaged in conduct involving dishonesty, foaud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.4@);




                                           28


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02       Page 34 of 56
               e)      engaged in conduct that is prejudicial to the proper

                       administration of justice, in violation of MRPC

                       e.10a(1);

               0       engaged in conduct that exposed the legal profession

                       or the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               s)      engaged in conduct that is contrary to justice, ethics,

                       honesty or good morals, in violation of MCR 9.104(3).




                             COUNT EIGHT - STEPHANIE DALLAS

                                      (Factual Allegations)

         153. On or about February 2I, 2019, Stephanie Dallas (VIs. Dallas) was
  involved in an automobile accident.

         154. On March 5,2019, Ms. Dallas met with Robert Smith, an associate of
  Respondent's firm.

         155. Ms. Dallas informed Respondent's associate that she had completed an
  application for no fault benefits with her insurer AAr\ Auto insurance (AAA) but

  had not been notified if AAA would voluntarily pay her benefits.

         156. Ms. Dallas was encouraged to retain Respondent's firm to handle the
  first-party benefits.




                                              29


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02          Page 35 of 56
             157. On March 5,2019, Ms. Dallas executed a contingent fee agreement
  with Respondent that would allow for Respondent to recover one-third of the
  proceeds after costs.

             158. After Ms. Dallas signed the contingent fee agreement with
  Respondent, AAA decided to voluntarily pay her first-party benefits.

             159. Respondent received the first-party benefit checks for Ms. Dallas and
  deducted one-third of the money for his fee.

             160. Respondent did not pay providers for Ms. Dallas.
             161. As a result of Respondent's not paying these providers, Ms. Dallas had
  to pay the providers in order to continue to receive treatment.

             162. As a result of Respondent's failure to pay providers for Ms. Dallas, her
  credit score was negatively impacted, and collection agencies began collection

  efforts.

             163. In or about the summer of 2019, Respondent received and held lost
  wage benefit checks for Ms. Dallas for multiple months.

         164. On or about September 16, 2019, Ms. Dallas terminated
  representation with Respondent, and requested her complete file and an accounting

  of AAA's payments to Respondent.

         165. Respondent did not provide Ms. Dallas with her file or an accounting
  as requested.




                                              30


23-45970-mlo       Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02     Page 36 of 56
          166. On or about September 25, 2019, Ms. Dallas retained new counsel,
  Craig Nemier, P26476, who sent a letter to Respondent requesting the fiIe for Ms.

  Dallas and the AAA Accounting.

          167. Respondent did not respond to Attorney Nemier's correspondence.
          168. On or about October 3,2019, Attorney Nemier sent Respondent a copy
  of his previous letter requesting the file and the AAA Accounting regarding Ms.

  Dallas by email to Respondent.

          169. Respondent did not answer.
          170. On October 17,2019, Attorney Nemier left a voicemail message and
  sent another email to Respondent regarding Ms. Dallas.

          l7l.   Respondent still did not respond to Attorney Nemier.

          172. On February 5, 2020, Attorney Nemier filed a civil case against
  Respondent and his law firm in the matter captioned Stephanie Dallas u ACIA et

  aI, Oakland County, Case No. 200-I70465-NF.

          173. Respondent filed an answer and a counter-complaint on March 12,
  2020.

          174. On June 18,2020, Attorney Nemier filed a motion for partial summary
  disposition.

          175. On August 5,2020, Hon. Martha Anderson granted partial summary
  disposition in a written opinion and order.

          176. On August 17,2020, the Court entered an order requiring Respondent
  within 10 days of the entry of the order to:


                                            31


23-45970-mlo     Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02   Page 37 of 56
                a)    Pay Ms. Dallas whatever money she was owed for

                     past lost wages less any attorney fee claimed

                      through the present;

                b)    Pay every provider all monies owed to them without

                      deducting any attorney fee; and,

                c)   Provide Ms. Dallas and her attorney a complete

                      accounting or all checks received and all payments

                     made.

         177. Respondent did not comply with the Court's order.
         178. As a result of Respondent failing to comply with the order of Judge
  Anderson, a provider for Ms. Dallas, Affiliated Diagnostics (Count Nine herein),

  fi.led an ex-parte motion for order to show cause on September 10, 2020.

         179. An order for Respondent to show cause was issued on September 15,
   2020, providing a date for hearing of September 30,2020.

         180. Attorney Nemier filed a motion to be included in the show cause order
  of September 18, 2020.

         l8l.    Respondent issued a check to Ms. Dallas on September 29, 2020, in the

  amount of $172.73.

         182. Respondent did not provide an accounting as ordered.
         183. On October 23, 2020, Attorney Nemier filed a show cause motion
  regarding the failure to provide an accounting.




                                             32


23-45970-mlo     Doc 67   Filed 07/31/23     Entered 07/31/23 14:34:02   Page 38 of 56
          184. A hearing was conducted on November 25, 2020, at the Court found
  that Respondent had not yet complied with the August 17,2020 order.

          185. The Court warned Respondent to file his accounting by December 2,
  2020.

          186. Respondent filed his accounting with the court on December 1,2020.



                                (Grounds for Discipline)

          187. By reason of the conduct set forth in Count Eight of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)   failed to act with reasonable diligence and
                    promptness in representing a client, in violation of

                    MRPC 1.3;

               b)   failed to promptly comply with a client's reasonable

                    request for information, in violation of MRPC 1.4(a);

               c)   failed to explain a matter to client to the extent

                    reasonably necessary to permit the client to make

                    informed decisions about the representation, in

                    violation of MRCP l.aft);

               d)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive and failed to promptly




                                           33


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02        Page 39 of 56
                       render a full accounting of such funds, in violation of

                       MRCP 1.15(b)(3);

               e)      knowingly disobeyed an obligation under the rules

                       of a tribunal, in violation of MRPC 3.4(c);

               I       engaged in conduct involving dishonesty, fraud,

                       deceit or misrepresentation or violation of the

                       criminal law, where such conduct reflects adversely

                       on the lawyer's honesty, trustworthiness, or fi.tness

                       as a lawyer, in violation of MRPC 8.4(b);

               g)      engaged in conduct that is prejudicial to the proper

                       administration ofjustice, in violation of MRPC 8.a(c)

                       and MCR 9.10a(1);

               h)      engaged in conduct that exposed the legal profession

                       or the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               l)      engaged in conduct that is contrary to justice, ethics,

                       honesty or good morals, in violation of MCR 9.104(3).




                       COUNT NINE - AFFILIATED DIAGNOSTICS

                                      (Factual Allegations)

        188. Petitioner realleges, as if cited verbatim, the Factual Allegations from
  Count Eight of this Formal Complaint.


                                              34


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02        Page 40 of 56
          189. On or around April of 2019, AffiIiated Diagnostics performed MRI
   services for Ms. Dallas related to her February 12,2Ol9 automobile accident.

          190. AAA allowed payments for two bills submitted by Affrliated
  Diagnostics in the amounts of $30,925 and $2,317.

          191. AAA issued a check for $ $30,925 on April 26, 2019, which was
  deposited into Respondent's IOLTA Account #5575 on May 1, 2019.

          192. AAA issued a check for $2,317 on May 14, 20L9, which was deposited
  into Respondent's IOLTA Account #5575 on May 2I,2019.

          193. Respondent did not promptly disburse the funds from AAA to
  Affiliated Diagnostics.

          194. Respondent claimed a one-third fee on these funds.
          195. On September 16, 2019, Ms. Dallas terminated Respondent.
          196. The civil suit filed by Attorney Nemier resulted in an order to pay
  every provider all monies owed to them without holding out any money for attorney

  fees within ten days of entry of the order.

          197. On August 20, 2020, attorney John Betz, P24468, filed a demand for
  payment on behalf of Affiliated Diagnostics in Dallas u ACIA.

          198. Due to Respondent's failure to comply with the August 17,2020 order
  of Judge Anderson in the civil action, Affiliated Diagnostics filed an ex-parte show

  cause motion against Respondent.

          199. The motion for an order to show cause was granted on September 15,
  2020.



                                             35


23-45970-mlo    Doc 67      Filed 07/31/23   Entered 07/31/23 14:34:02   Page 41 of 56
        200. The Court scheduled an evidentiary hearing for September 30, 2020.
        20I. On September 29, 2020, Affiliated Diagnostics filed an
  acknowledgement of receipt of a check from Respondent in the total amount of

  $23,242.

                                (Grounds for Discipline)

        202. By reason of the conduct set forth in Count Nine of this Formal
  Complaint, Respondent has committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)   failed to promptly pay or deliver funds that a third

                    person is entitled to receive, and failing to promptly

                    render a full accounting regarding such funds, in

                    violation of MRPC 1.1500X8);

               b)   knowingly disobeyed an obligation under the rules

                    of a tribunal, in violation of MRPC 3.a(c);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.a@);

               d)   engaged in conduct prejudicial to the administration

                    of justice in violation of MRPC 8.a(c) and MCR

                    e.loa(1);


                                           36


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02         Page 42 of 56
               e)      engaged in conduct that exposed the legal profession

                       or the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               0       engaged in conduct that is contrary to justice, ethics,

                       honesty or good morals, in violation of MCR 9.104(3).




                              COUNT TEN - JULIUS HARDEN

                                      (Factual Allegations)

         203. On October 27,2017, Julius Harden (l\4r. Harden) was injured in an
   automobile accident.

         204. On or around November 15, 2017, Respondent entered into a
  contingent fee agreement with Mr. Harden.

         205. Mr. Harden submitted a third-party automobile negligence claim
  against the other driver involved in the accident with Mr. Harden.

         206. The other driver had insurance with GEICO in the amount of $20,000
  per person and $40,000 per accident.

         207. Respondent recovered $20,000 from the insurance company for Mr.
  Harden's claim.

         208- On December 5, 2018, the $20,000 check was deposited into
  Respondent's IOLTA Account #5575.

         209. On March I, 2019, nearly 90 days later, Respondent issued check
  number 15284 in the amount of $12,835.96 payable to Mr. Harden.


                                             6t


23-45970-mlo       Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02      Page 43 of 56
         210. On January 18, 2019, Respondent filed in Wayne County Circuit Court
  the case of Julius Harden u Meemic Insurance Company, Case No. 19-000859-NI,

  seeking underinsured motorist benefits.

         211. On March l,2OI9, Respondent filed an amended complaint.
         212. Between October 2017 and October of 2019, Mr. Harden's wife
  performed household services for Mr. Harden.

         213. Mr. Harden submitted monthly household services statements directly
  to Meemic and would receive payment for these services directly from Meemic.

        214. However, the checks issued by Meemic for September and October of
  2019 for services were mistakenly sent to Respondent.

        215. Respondent accepted the two checks from Meemic for household
  services, in the amounts of $380 and $320 respectively, and deposited same into

  Respondent's IOLTA Account #5575 on October 2I,2019, and November 8, 2019.

        216. Respondent did not notify Mr. Harden that Respondent received the
  two household service checks, nor did Respondent obtain permission from Mr.

  Harden to deposit the funds from those two household service checks.

        217. Mr. Harden, having not received the two household service checks,
  contacted Meemic and was informed the checks had been sent to Respondent.

        218. Respondent asserted to Mr. Harden that the contingent fee agreement
  was never amended to provide for a contingent fee regarding the no fault PIP benefit

  claims, therefore an hourly fee was due.




                                          38


23-45970-mlo   Doc 67    Filed 07/31/23      Entered 07/31/23 14:34:02   Page 44 of 56
         219. Respondent told Mr. Harden if he distributed the funds received, Mr.
  Harden would not recover because the law firm had more hours worked collecting

  the PIP benefits than the $700 would cover.

        220. Respondent refused to pay Mr. Harden the proceeds from the two
  household services checks.

        221. The underinsured motorist claim against Meemic proceeded to
  arbitration, on November 19, 2019.

        222. The arbitrators awarded underinsurance benefits in the amount of
  $22,500 in an arbitration award entered on November 20, 2019.

        223- On November 26, 2019, Meemic issued a check in the amount of

  $22,500 to Respondent. This check was deposited into Respondent's IOLTAAccount

  #5575 on December 6, 2019.

        224. Meemic moved for summary disposition regarding any medical
  provider bills. Mr. Harden had a coordinated policy and, as such, the providers were

  to bill the medical insurer Blue Care Network.

        225. On September 8, 2020, the motion for summary disposition was
  granted in Meemic's favor.

        226. After more than 90 days without receipt of payment from Respondent,
  Mr. Harden retained attorney Jordan Altus, P82384, on March 17, 2021, to recover

  the proceeds from Respondent.




                                          39


23-45970-mlo   Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02     Page 45 of 56
        227. On March 26, 2OZI, Attorney Altus sent a demand letter to
  Respondent for payment of the money owed to Mr. Harden from the arbitration, and

  to Mrs. Harden for attendant care.

        228. Respondent failed to reply to the demand letter.
        229. Attorney Altus made continued attempts to contact Respondent and
  was unsuccessful.

        230. In or about April of 202I, Respondent demanded that Mr. Harden sign
  a new contingent fee agreement.

        231. Respondent prepared a new contingent fee agreement and settlement
  accounting dated April 14,202L and sent it to Attorney Altus.

        232. Under the accounting prepared by Respondent, the total proceeds were
  $23,200. Expenses totaled 82,175.19 and attorney fees totaled $7,008.27.

        233. As the parties negotiated a one-third contingent fee for all three
  checks involved, net proceeds owing to Mr. Harden totaled $14,016.72.

        234. Attorney Altus returned the signed documents to Respondent.
        235. Respondent then returned the accounting to Attorney Altus and asked
  that it be notarized resulting in further delay in disbursement to Mr. Harden.
  Attorney Altus complied with this additional request and returned the documents

  to Respondent on May 21,2021.

        236. Respondent refused to promptly disburse the funds to Mr. Harden
  upon receipt of the notarized accounting provided by Attorney Altus to Respondent.




                                          40


23-45970-mlo   Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02    Page 46 of 56
        237. On June 14,2021, Attorney Altus fiIed a complaint in the Oakland
  County Circuit Court in Julius Harden u Brian Dailey Law Firm, Case 210188483-

  CZ.

        238. Only after this litigation was initiated did Respondent issue a check
  dated June 18, 202I, in the amount of $ 14,016 .72 for payment to Mr. Harden.

        239. Respondent's failure to promptly turn over the proceeds to Mr. Harden
  caused Mr. Harden to expend money to recover the funds Mr. Harden was owed

  from Respondent.

        240. Mr. Harden had a 50% contingency fee agreement with Attorney Altus
  to recover his funds from Respondent, resulting in Mr. Harden collecting less than

  he would have if he did not have to retain additional counsel.


                                 (Grounds for Discipline)

        241     By reason of the conduct set forth in Count Ten of this Formal
  Complaint, Respondent committed the following misconduct and is subject to

  discipline under MCR 9.104 as follows:

               a)      failed to act with reasonable diligence and
                       promptness in representing a client, in violation of

                       MRPC 1.3;

               b)      failed to promptly comply with a client's reasonable

                       requests for information, in violation of MRPC

                       1.4(a);




                                              4L


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02       Page 47 of 56
               c)      failed to explain a matter to client to the extent

                       reasonably necessary to permit the client to make

                       informed decisions about the representation, MRPC

                       1.aG);

               d)      failed to promptly pay or deliver funds that a third

                       person is entitled to receive, in violation of MRPC

                       1.15(b)(3);

               e)      failed to promptly render a full accounting regarding

                       such funds, in violation of MRPC 1.15&)(3);

               0       engaged in conduct involving dishonesty, fraud,

                       deceit or misrepresentation or violation of the

                       criminal law, where such conduct reflects adversely

                       on the lawyer's honesty, trustworthiness, or fitness

                       as a lawyer, in violation of MRPC 8.aG);

               g)      engaged in conduct that is prejudicial to the proper

                       administration of justice, in violation of MRPC

                       e.10a(1);

               h)      engaged in conduct that exposed the legal profession

                       or the courts to obloquy, contempt, censure or
                       reproach, in violation of MCR 9.104(2); and,

               l)      engaged in conduct that is contrary to justice, ethics,

                       honesty or good morals, in violation of MCR 9.104(3).



                                              42


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02          Page 48 of 56
                           COUNT ELEVEN - KENT S. SIEGEL

                                    (Factual Allegations)

           242. Respondent represented plaintiff in Sherry Diehl u Citizens Insurance
   Co., in Wayne County Circuit Court Case No. 19-01466-NI filed on November 1,

  2019.

           243. In March of 202I, an order for mediation was entered.
           244. On April 14, 202I, Kent S. Siegel, served as mediator in the pending
  civil case and the parties were required to pay fees associated with mediation.

           245. On June 28, 202I, Respondent paid his portion of the mediation fee
  with check number 39107 in the amount of $500.00 from his Business Account with

  TCF Bank ending in#0427.

           246. On July L, 202I, Account #0427 was garnished $6,174.28 by "MI
  Garn."

           247. On July 7,202I, Respondent's check number dgtOZ was returned for
  insufficient funds.

           248. On or about July 12, 2021, Respondent was notified by Mr. Siegel that
  check number 39107 for $500 was not honored and that payment was due.

           249. On July 12, 202L, Respondent falsely stated to Mr. Siegel that
  Respondent's bounced check was a "bank error" and that the check would be

  replaced.

           250. Respondent did not promptly send the funds he owed to Mr. Siegel.



                                            43


23-45970-mlo     Doc 67    Filed 07/31/23   Entered 07/31/23 14:34:02   Page 49 of 56
           251. On or about July 26, 202I, after having not received the payment from
  Respondent, Mr. Siegel again contacted Respondent about the payment.

           252. During this conversation, on or about July 26, 202L, Respondent
  expressed surprise to Mr. Siegel that Mr. Siegel had not received the replacement

  check, despite knowing that he had not sent the replacement check to Mr. Siegel

  and at that time Account #0427 had a balance of less than $500.

           253. During the conversation on or about JuIy 26, 202L, Respondent again
  promised Mr. Siegel he would send payment, assuring Mr. Siegel that he was

  overnighting another replacement check.

        254. Respondent did not send the funds owed to Mr. Siegel when promised
  on or about July 26, 202I.

         255. On August 5,202I, having still not received a replacement check from
  Respondent, Mr. Siegel filed a Request for Investigation with the Attorney

  Grievance Commission relaying the bounced check and inaccurate representations

  ofRespondent.

        256. On August 13, 2021, Respondent sent Mr. Siegel the funds he owed
  Mr. Sigel by wire transfer from Respondent's Bank Account with TCF ending in

  #0427.

                                 (Grounds for Discipline)

        257. By reason of the conduct described above in Count E1even of this
  Formal Complaint, Respondent has committed the following misconduct as is

  subject to discipline under MCR 9.f 04 as follows:



                                           44


23-45970-mlo     Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02    Page 50 of 56
               a)     failed to promptly pay or deliver funds that a third

                      person is entitled to receive, and failed to promptly

                      render a full accounting regarding such funds, in

                      violation of MRPC 1.15@)(3);

               b)     knowingly disobeyed an obligation under rules of the

                      tribunal, in violation of MRPC 3.4(c);

               c)     engaged in conduct involving dishonesty, fraud,

                      deceit or misrepresentation or violation of the

                      criminal law, where such conduct reflects adversely

                      on the lawyer's honesty, trustworthiness, or fitness

                      as a lawyer, in violation of MRPC 8.a&);

               d)     engaged in conduct that is prejudicial to the

                      administration of justice, in violation of MRPC

                      8.4(c);

               e)     engaged in conduct that is prejudicial to the proper

                      administration of justice, in violation of MRPC

                      e.10a(1);

               0      engaged in conduct that exposed the legal profession

                      or the courts to obloquy, contempt, censure or
                      reproach, in violation of MCR 9.104(2); and,

               g)     engaged in conduct that is contrary tojustice, ethics,

                      honesty or good morals, in violation of MCR 9.104(3).



                                             45


23-45970-mlo       Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02         Page 51 of 56
        COUNT TWELVE - FAILURE TO TIMELY ANSWER REQUEST'S FOR
                                   INFORMATION

                                  (Factual Allegations)

         258. The following requests for investigation were mailed to Respondent's
  address of record with the State Bar of Michigan in accordance with MCR

  9.112(C)(1)@), requiring his signed written Answer within twenty-one (21) days as

  follows:

       AGC File No.        Dated Mailed to Respondent Complainant

       19-0376                     0211912019              Dalen Hanna

       19-0692                    03/06/2019               Aron Orth

       19-1187                    05llgl20l9               Arthur Orofino

       19-2664                     1210512019              Samira Bazzi

       2I-I780                     I0l27l2O2I              Kent Siegel


         259. On October 27,202I, the request for investigation in AGC File No. 21-
  1780 was mailed and emailed to Respondent at the following address:

  briandailey@daileylawyers.com.

         260. Respondent failed to answer the Request for Investigation listed above
  in the time allowed and final notices enclosing a second copy of the Request for
  Investigation was served via certified mail on Respondent in accordance with MCR

  9. 1 12(C)(1Xb) as follows:


       AGC File No.               Certified Mailine Date Complainant

       19-0376                    0312412019               Dalen Hanna



                                            46


23-45970-mlo    Doc 67     Filed 07/31/23   Entered 07/31/23 14:34:02    Page 52 of 56
        19-0692                      0512212019              Aron Orth

        19- 1 187                    07lr8l20t9              Arthur Orofino

        19-2851                      0L12412020              Samira Bazzi

        2I-I780                      Iu30l202t               Kent Siegel



         261. The final notices also allowed Respondent an additional 10 days to
   answer the Request for Investigation.

         262. Respondent was granted an extension on April 19, 2019, in AGC File
  No. 19-0692 until May 5, 2019. Respondent failed to comply with the extended

  deadline.

         263. On January 3, 2022, in AGC File No. 21-1780, Respondent was sent
  another copy of the Request for Investigation as a courtesy, via email.

         264. Counsel for Petitioner received a certified mail receipt on each of the
  aforementioned Requests for Information, confirming that the final notices were

  accepted at Respondent's address.

         265. Respondent failed to answer each Request for Investigation in the time
  allowed pursuant to MCR 9.112(CXb), having provided untimely responses as

  follows:

       AGC File Number             Date Answer Received Complainant

       19-0376                      O4l01l2jl9               Dalen Hanna

       19-0692                      06/03/2019               Aron Orth

       19-1187                      0712612019               Arthur Orofino


                                              47


23-45970-mlo        Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02    Page 53 of 56
       19-2851                   o2lo3l202                  Samira Bazzi

       2r-1780                   031ru2022                 Kent Siegel


                             (Grounds for Discipline)

        266. By reason of the conduct described in Count Twelve of this Complaint,
  Respondent has committed the following misconduct and is subject to discipline

  under MCR 9.104:

               a)   failure to answer the Request for Investigation in

                    conformity with MCR 9.113(4) and @)(2), and in

                     riolation of MCR 9.104(D;

               b)   knowingly failed to respond to a lawful demand for

                    information in violation of MRPC 8.1(a)(2);

               c)   engaged in conduct involving dishonesty, fraud,

                    deceit or misrepresentation or violation of the

                    criminal law, where such conduct reflects adversely

                    on the lawyer's honesty, trustworthiness, or fitness

                    as a lawyer, in violation of MRPC 8.aft);

               d)   engaged in conduct that is prejudicial to the

                    administration ofjustice, inviolation of MRPC S.a(c)

                    and MCR 9.10a(1);

               e)   engaged in conduct that exposes the legal profession

                    or the courts to obloquy, contempt, censure, or
                    reproach, in violation of MCR 9.104(2); and,

                                           48


23-45970-mlo     Doc 67   Filed 07/31/23   Entered 07/31/23 14:34:02       Page 54 of 56
               f)   engaged in conduct that is contrary to justice, ethics,

                    honesty or good morals, in violation of MCR 9.104(3).




         Wherefore, Respondent should be subjected to such discipline as may be

 warranted by the facts or circumstances of such misconduct, including any restitution

 owed.



 Dated: October 7,2022                         MICHIGAN ATTORNEY
                                               GRIEVANCE COMMISSION



                                               MICHAEL V. GOETZ, P 4LL39
                                               Grievance Adrninistrator
                                               PNC Center
                                               755 W. Big Beaver Rd., Suite 2100
                                               Troy, MI 48084
                                               (313) 961-6585




                                          49


23-45970-mlo    Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02      Page 55 of 56
                                                                    FILED
                                                          ATTORNEY DISCIPLINE BOARD
                                                                October 7,2022
                                  State of Michigan

                             Attorney Discipline Board

 Grievance Adrninistrator,
 Michigan Attorney Grievance Comrnission,

        Petitioner,
                                                    Case No. 22-77-GA
 v

 Brian T. Dailey, P39945,

        Respondent.


                                 Discovery Demand
       As permitted by MCR 9.115(F)(4), Petitioner makes the following demand for

 discovery:

        1)     Copies of all documentary evidence to be introduced at the hearing, or

 access to such documentary evidence so that it can be inspected and copied, in

 accordance with MCR 9.11b(F)(4)(a); and,

       2)      The names and addresses of any persons to be called as witnesses at

the hearing, in accordance with MCR 9.11b(F)(4)(aXi).

       under MCR 9.115(F)(4)(c), your failure to comply timely with the above

demands may subject you to one or more of the sanctions set forth in MCR

2.313(BX2)(a)-(c).

Dated: October 7,2022                         /s/ Kenneth E. Frazee
                                              Kenneth E. Frazee, Pb1g0B
                                              Senior Associate Counsel
                                              Attorney Grievance Commission
                                              PNC Center
                                              755 W. Big Beaver, Suite 2100
                                              Troy, MI 48084
                                              (313) e61-6585




23-45970-mlo     Doc 67   Filed 07/31/23    Entered 07/31/23 14:34:02    Page 56 of 56
